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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION

UNITED STATES OF AMERICA                    §
                                            §
                                            §
VS.                                         §   CRIMINAL NO. H-06-52-1
                                            §
                                            §
MANUEL IVAN CAVAZOS-AGUIRRE                 §

                                       ORDER

        Defendant Cavazos-Aguirre filed an unopposed motion to continue the sentencing

hearing (Docket Entry No. 899). The motion for continuance is GRANTED. The sentencing

hearing is reset to August 10, 2010, at 10:00 a.m.


             SIGNED on May 20, 2010, at Houston, Texas.

                                          ______________________________________
                                                     Lee H. Rosenthal
                                                United States District Judge
